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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 CONSUMERS ENERGY COMPANY                      )
 and DTE ELECTRIC COMPANY,                     )
                                               ) Case No.
                           Plaintiffs,         )
                                               )
                      v.                       )
                                               )
 TOSHIBA AMERICA ENERGY                        )
 SYSTEMS CORPORATION and                       )
 TOSHIBA CORPORATION,                          )
                                               )
                           Defendants.         )

                                   COMPLAINT
      Plaintiffs Consumers Energy Company (“Consumers Energy”) and DTE

Electric Company (“DTE”), by and through their attorneys, hereby set forth their

Complaint against Defendants Toshiba America Energy Systems Corporation

(“Toshiba”) and Toshiba Corporation (“Toshiba Parent”), and state as follows:

                                 INTRODUCTION

      1.     This lawsuit stems from Toshiba’s material and ongoing failures to

execute a major overhaul and upgrade of the Ludington Pumped Storage Plant. The

Ludington Plant is one of the largest hydroelectric plants of its type in the world. It

is a critical component of Michigan’s clean energy infrastructure.

      2.     Consumers Energy and DTE jointly own the Ludington Plant and are

sometimes referred to collectively as the “Owner” in contract documents.
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Consumers Energy and DTE paid Toshiba hundreds of millions of dollars to

overhaul and upgrade the Ludington Plant. In exchange, Toshiba promised, among

other things, to provide engineering, construction, and other services that would

produce refurbished hydroelectric turbines that would be free of defects and obsolete

components, enable the Plant to have a 30-year service life, and require reduced

maintenance. Those promises were integral to the reliable performance of the

Ludington Plant and the overall business case for the project.

      3.     Toshiba, however, has failed to uphold its end of the bargain. Toshiba

has repeatedly delivered defective work and services affecting key components of

the hydroelectric turbines, including the discharge ring extensions, main shaft seals,

and motor-operated disconnect switches. Those defects violate multiple contractual

provisions and warranties. The defects also make the promised 30-year service life

impossible for the Plant and will require more frequent (rather than reduced)

maintenance. Toshiba has also failed to meet numerous contractual deadlines.

      4.     Despite numerous requests, Toshiba has refused to rectify its defective

work. Instead, Toshiba has told Consumers Energy and DTE to use defective

components “as is,” and to wait and see if or when the components fail, which is

contrary to Toshiba’s obligations to deliver defect-free work and repair defects at

the Owner’s request. At other times, Toshiba has attempted repairs, but it has used



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a trial-and-error approach that has introduced even more defects and problems. Other

purported repairs by Toshiba have been mere stopgaps that do not address the

underlying defects. In other instances, Toshiba has simply ignored Consumers

Energy’s and DTE’s requests to make repairs or provide analysis of defects. In short,

it has become clear that Toshiba is unwilling or unable to deliver the defect-free

work it promised.

      5.     Toshiba has violated its obligations in many other respects. Toshiba has

repeatedly missed contractual deadlines to complete its work, has defectively

designed, constructed, and installed key components, has failed to correct defects,

and has violated standards and codes incorporated into the contract, to name a few.

      6.     Toshiba’s failures have injured Consumers Energy, DTE, and the

Ludington Plant. As an example, because of unaddressed defects in Toshiba’s work,

at least five of the six hydroelectric turbine generators that Toshiba was supposed to

overhaul will not meet the 30-year service life specification that was a fundamental

objective of the project. Even though those five turbine generators were only

recently placed back in service following Toshiba’s work, they already suffer from

cracking and degradation in a crucial component. Toshiba has failed to correct those

deficiencies despite more than a year of repeated demands from Consumers Energy

and DTE.



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      7.     Toshiba’s failures have already caused substantial damage to

Consumers Energy and DTE and will require substantial resources to correct.

Consumers Energy and DTE bring this suit to recover those damages, require

Toshiba and Toshiba Parent to pay for the work that is needed to rectify Toshiba’s

defective performance, and for all other appropriate relief.

                                     PARTIES

      8.     Consumers Energy is a public utility providing electricity and/or

natural gas to millions of residential and business customers in every county of

Michigan’s Lower Peninsula. Consumers Energy is the principal subsidiary of CMS

Energy Corporation, which is a publicly traded company.

      9.     Both Consumers and the CMS Energy Corporation are corporations

organized under the laws of Michigan and have their principal places of business in

Jackson, Michigan.

      10.    DTE is a public utility that supplies electricity and/or natural gas to

millions of residents and businesses in Michigan, including in the Detroit metro area.

DTE is a subsidiary of the DTE Energy Company, a publicly traded company.

      11.    Both DTE and the DTE Energy Company are incorporated under the

laws of Michigan and have their principal places of business in Detroit, Michigan.




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       12.   Defendant Toshiba is a United States-based subsidiary of the Japanese

corporation of the same name. Toshiba is a Delaware corporation with its principal

place of business in West Allis, Wisconsin.

       13.   Defendant Toshiba Parent is the parent company of Toshiba. Toshiba

Parent is a corporation organized under the laws of Japan and has its principal place

of business in Tokyo, Japan.

                         JURISDICTION AND VENUE

       14.   This   Court    has   jurisdiction   over   this   matter   pursuant   to

28 U.S.C. § 1332 because this is a civil action between corporations that are citizens

of different states or a foreign state, and the amount in controversy exceeds the sum

or value of $75,000.

       15.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a

substantial part of the actions giving rise to these claims occurred in this judicial

district.

       16.   Venue is also proper pursuant to 28 U.S.C. § 1391 because Toshiba and

Toshiba Parent are subject to this Court’s personal jurisdiction with respect to this

action.

       17.   Toshiba Parent also consented to venue and personal jurisdiction in this

Court in the Parent Guaranty, which is further described below.



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                                        FACTS

A.    The Ludington Plant Is Vital To Michigan’s Electric Infrastructure.

      18.      The Ludington Plant plays an important role in Michigan’s

management of demand for electricity, its transition to clean energy, and Consumers

Energy’s and DTE’s ability to provide reliable and cost-effective electricity to

residents and businesses.

      19.      The Ludington Plant is one of the largest pumped storage plants in the

world. A pumped storage plant works by using hydroelectric pump-turbines to pump

water uphill into a reservoir during periods of low demand for electricity, and then

reversing the system during periods of high demand by allowing the stored water to

flow downhill and spin the pump-turbines, generating electricity. In this way, a

pumped storage plant acts as an enormous battery that can store excess power when

it is not needed and release the power when it is needed.

      20.      A simplified graphical depiction of the Ludington Plant is set out below

as Figure 1:




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      21.    The Ludington Plant is located in Ludington, Michigan, on the shore of

Lake Michigan.

      22.    The Ludington Plant began operating in 1973, with an initial license

from the Federal Energy Regulatory Commission (“FERC”) to operate until 2019.

      23.    When it was constructed, the Ludington Plant was the largest pumped

storage system in the world and an engineering marvel. The American Society of

Civil Engineers recognized the Ludington Plant as one of the top civil engineering

projects of the 20th century.

      24.    The Ludington Plant operates by pumping water from Lake Michigan

up to a reservoir more than 300 feet above the lake. The reservoir holds 27 billion

gallons of water and has a surface area of 840 acres—more than a square mile.

During periods of high electric demand, the Ludington Plant allows water to flow

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from the reservoir back down to Lake Michigan, turning the Plant’s turbines and

generating electricity.

      25.    The Ludington Plant can generate more than 2,000 megawatts of

electricity, which is enough power to serve more than 1.4 million people.

      26.    The Ludington Plant consists of six hydroelectric pump-turbines that

can each independently pump water and generate electricity. These six pump-

turbines are each referred to as “Units.” Each Unit has a large ring of turbine

blades—referred to as a “runner”—fitted to a rotating main shaft. Each runner

weighs more than 300 tons.

      27.    As water flows from the reservoir down through the turbine, the runner

and main shaft rotate, which in turn rotates a motor generator. The motor generator

converts the rotation into electricity when in generating mode. The motor can also

be reversed, using power from the electric grid, to draw water from Lake Michigan

and fill the reservoir when in pumping mode.

      28.    Each hydroelectric turbine is approximately five stories tall, with most

of the equipment placed underground and below the water level of Lake Michigan.

A graphical cross-section set out here as Figure 2 is provided to illustrate the general

scale and layout of each turbine:




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      29.   The Ludington Plant saves Michigan customers millions of dollars by

generating cost-effective electricity to meet high demand. The Ludington Plant also

contributes more than $11 million annually to state and local tax revenues.

      30.   The Ludington Plant is integral to Consumers Energy’s, DTE’s, and

Michigan’s plans to diversify energy portfolios and increase clean energy sources.




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      31.    Renewable and clean energy sources, such as solar and wind energy,

are considered intermittent generating resources. The Ludington Plant promotes and

enables greater use of renewable resources because of its ability to store excess

electricity produced during periods of low demand and release that stored power

during periods of high demand.

      32.    The Ludington Plant’s ability to store excess electric power also

reduces the need for traditional, fossil-fueled plants to be cycled more heavily during

high demand periods. This is another way the Ludington Plant serves to provide

reliable electricity for Michigan residents while also reducing greenhouse gas

emissions in Michigan.

      33.    The Ludington Plant can also begin generating electricity almost

immediately, and on demand, unlike many other generating facilities, making it an

important resource for power restoration efforts in the event of an emergency.

B.    Toshiba Contracts To Perform Overhaul And Upgrade Work That Is
      Essential To The Ludington Plant’s Future.

      34.    In the mid-2000s, Consumers Energy and DTE began planning for an

overhaul and upgrade of the Ludington Plant in order to extend the operating life of

the Plant in tandem with the planned renewal of the Plant’s FERC license that was

set to expire in 2019.




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      35.    Consumers Energy and DTE had four major goals for the overhaul and

upgrade: (a) extending the service life of the Ludington Plant for at least another 30

years; (b) reducing the frequency and duration of Plant outages required for

maintenance; (c) increasing the Plant’s generating efficiency; and (d) increasing the

Plant’s generating capacity by approximately 50 megawatts per Unit.

      36.    Consumers Energy and DTE conducted a competitive bidding process

for the overhaul and upgrade work. Each bidding contractor created and tested a

design for a new and more efficient turbine runner for each Unit as part of a design

process funded by Consumers Energy and DTE.

      37.    At the conclusion of that competitive bidding process, Consumers

Energy and DTE selected Toshiba International Corporation as the contractor to

perform the overhaul and upgrade.

      38.    Consumers Energy and DTE selected Toshiba International

Corporation, in part, because of its claimed knowledge and experience with pumped-

storage hydroelectric plants in general and with plants designed by the Ludington

Plant’s original designer and utilizing the same pump-turbines and motor generators.

      39.    Toshiba touts itself as a preeminent technology leader in the North

American turbine and generator marketplace, “providing cost-effective, timely, and

sustainable solutions” to keep plants “running longer.”



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      40.    In January 2011, Consumers Energy, DTE, and Toshiba International

Corporation executed the Ludington Plant Engineering, Procurement, &

Construction Contract for Units 1 through 6 Turbine Generator Overhaul, effective

as of October 15, 2010, which has since been amended by ten contract change orders

(as amended, the “Contract”).

      41.    The Contract includes a set of documents with specified performance

requirements—referred      to   as   the        Conformed   Contract   Specifications

(“Specifications”). (Excerpts of the Contract are attached hereto as Exhibit A.)1

      42.    On April 1, 2015, with the consent of Consumers Energy, DTE, and

Toshiba Parent, Toshiba International Corporation assigned the Contract, including

all its obligations, to Toshiba. (The Assignment is attached hereto as Exhibit B.)

      43.    In parallel with the overhaul and upgrade work, Consumers Energy and

DTE applied for and received a new 50-year FERC license for the Ludington Plant

spanning from 2019 to 2069.

      44.    As of the most recent contract change order, the total price paid to

Toshiba under the Contract is more than $500,000,000.00. (Contract § IV.1A, as

amended by CCO10(4).)




1
 The complete Contract, including appendices, is voluminous. All parties have
complete copies of the Contract.

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C.    The Contract Requires Toshiba To Provide Services To Engineer And
      Construct An Overhauled And Upgraded Plant With A 30-Year Service
      Life.

      45.    In the Contract, Toshiba agreed to a comprehensive set of requirements

for its work on the Ludington Plant overhaul and upgrade project.

      46.    Toshiba’s work under the Contract includes, but is not limited to, “all

of the engineering, manufacturing, procurement, transportation, and field work

necessary for a complete overhaul of the [Ludington Plant’s] pump-turbines, motor

generators . . . and the major electrical, and mechanical equipment.” (Specifications

Part Two Technical Requirements (“TR”), § 3.0, emphasis added.)

      47.    Toshiba agreed to meet specific requirements for the quality and

timeliness of its work. For example, the Contract provides:

      Section I.1—[Toshiba] agrees to perform and complete, in a good,
      substantial, workmanlike and approved manner within the time
      hereinafter specified and in accordance with terms, conditions and
      provisions of this Contract, all of the work described in Section III . . .
      and otherwise in the Contract . . .

      Section II.GC15(j)—The [w]ork shall be executed in a workmanlike
      manner by qualified, careful, and efficient mechanics in strict
      accordance with the Contract, Drawings and Specifications, or
      subsequent modifications thereof.

(Emphases added.)

      48.    The Contract further requires that Toshiba return the Ludington Plant

to “as nearly an as new condition as possible” and enable each Unit to operate


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reliably and efficiently for a service life of at least 30 years with only minimal routine

maintenance during planned periodic outages. (TR, §§ 1.0, 1.7, 3.0 (emphasis

added); see also, e.g., Specifications Part Two Technical Specification (“TS”) ME-

11450.4, §§ 1.5, 3.1.1.) For example, the Contract provides:

      TR, § 1.7.1—It is the parties’ understanding that the [w]ork performed
      for each of the Units shall be designed and otherwise performed in such
      manner as will allow the Units to be capable of operating according to
      [Toshiba’s] recommended operation and maintenance manuals
      provided pursuant to this Contract without the need of another
      Overhaul, as described herein, for at least thirty (30) years from Unit
      Final Acceptance of the applicable Unit.

      TR, § 1.0—It is expected that the components, items of equipment,
      materials, and services provided by [Toshiba] . . . shall enable the
      overhauled and upgraded Plant to operate efficiently and reliably for
      the required service life with only minimal routine maintenance. . .

      TR, § 3.0—It is the Owner’s expectation that, following the Final
      Completion, the Units, in its rehabilitated and upgraded condition, shall
      be capable of operating efficiently and reliably with only one more (the
      third) round of planned Major Unit Overhauls between the end of the
      current license (year 2019) and the end of the new license in year 2069
      (for a fifty (50)-year new license period); i.e., a minimum thirty (30)-
      year service life would be required and with only routine planned
      periodic outages . . .

(Emphases added.)

      49.    The Contract also mandates that each overhauled and upgraded Unit be

able to operate for three years between planned periodic outages instead of the pre-




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overhaul two-year cycle between planned periodic outages. (TR, §§ 1.7.1, 1.7.2,

1.7.3, 3.4.2.2.)

       50.    The Contract further provides that Toshiba’s work must improve the

Ludington Plant’s generating and pumping capabilities, efficiency, maintainability,

availability, reliability, and its overall operation, among other things. (TR, §§ 1.2,

1.3, 3.0; TS EE-30200.1, § 3.1.1.)

       51.    In addition, the Contract mandates:

       If at any time during the [w]ork, [Toshiba], or any of [Toshiba’s]
       Subcontractors declares obsolete, updates, modifies, or in any way
       improves any item proposed to be supplied or utilized or actually
       supplied or utilized, all such items proposed or actually supplied or
       utilized shall be similarly updated, either in part or as a direct
       replacement such that all such items are identical at the conclusion of
       the [w]ork.

(TR, § 3.10.6.1.)

       52.    In performing its work, Toshiba is required to comply with the

requirements of various engineering codes and standards, such as IEEE, ANSI, and

ASME Codes. (See, e.g., TR, §§ 2.2, 4.6; TS ME-11450.4, § 2.0.)

       53.    Toshiba also committed to achieving certain project milestones by

deadlines set forth in or established in accordance with the Contract. (Contract

§§ I.1-2, III.) If Toshiba fails to meet certain deadlines, Toshiba must pay




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Consumers Energy and DTE liquidated damages based on the length of its delay.

(Contract, § IV.2B, as amended by CCO9(10).)

D.    Toshiba Warrants That Its Work Will Conform And Be Free of Defects.

      54.    In the Contract, Toshiba warranted that all its work—including the

work of its subcontractors and suppliers—would conform to the Contract (including

the Specifications) and be free from defects for a period commencing at “Unit

Interim Acceptance” and until the longer of 6 years after the date of successful

completion of the Extended Commercial Operation Test or 3 years after the date of

Unit Final Acceptance. (Contract § II.GC21(b)(ii), as amended by CCO9(6).)

      55.    The Contract further requires that, after Consumers Energy and DTE

notify Toshiba of any failure to comply with the warranties, Toshiba must

“promptly” and “within a reasonable time” make “any and all” necessary repairs or

replacements, including performing work incidental to the corrective work and

replacing “all defective work,” at Toshiba’s sole expense. (Contract §§ I.1,

II.GC15(j), GC22(b)(i).)

      56.    The Contract also requires Toshiba to re-do or replace work rejected by

Consumers Energy and DTE due to a nonconformity and promptly resolve any

deficiencies that Toshiba finds through examinations, inspections, and tests required

during fabrication. For example, the Contract provides:



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      Section II.GC14(e)—[I]f the Owner at any time during the performance
      of the [w]ork becomes aware that any part of the [w]ork does not
      comply with requirements of this Contract, the Owner may reject it by
      notification to [Toshiba]. On being so notified, [Toshiba] must (despite
      any previous approval of or payment for the portion of the [w]ork in
      question by the Owner) re-do or replace the same, at [Toshiba’s] own
      cost and within such period as Owner directs, so that the [w]ork is in
      conformity with this Contract. Any requirement to so re-do or replace
      any [w]ork shall not entitle [Toshiba] to any extension of the Contract
      Schedule or any part thereof.

      Section II.GC27(e)—[Toshiba] shall perform all examinations,
      inspections, and tests during fabrication as described by the various
      Quality Assurance/Quality Control requirements, codes and standards,
      and Technical Specifications described in and/or referenced in the
      [Specifications]. Any deficiencies found shall be promptly resolved by
      [Toshiba], to the Owner’s satisfaction, at no cost to the Owner.

      57.    Consumers Energy and DTE may notify Toshiba of work that does not

comply with the Contract, including the Specifications, through Nonconformance

Reports, as well as other correspondences and documents. (Specifications Part

Three, Attachment C—Quality Assurance Requirements, § 4.1.) Toshiba must

respond to such notice within the timeframe requested by Consumers Energy and

DTE. (Id.)

E.    Under The Contract, Consumers Energy And DTE Have Rights To
      Correct Toshiba’s Defective Work At Toshiba’s Expense.

      58.    If Toshiba fails to promptly correct any defective work, complete the

work, or perform any provision of the Contract, Consumers Energy and DTE have

the right to perform or to hire third parties to perform the corrective or incomplete


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work, and Toshiba must reimburse Consumers Energy and DTE for that work. (See

e.g., Contract, §§ II.GC10, GC22(b)(ii), GC18(e); Specifications Part One, § 4.6.)

      59.     Toshiba’s warranty applies to “all corrective work” by Toshiba,

Consumers Energy, DTE, or a third party. (Contract § II.GC22(b)(i)-(ii).)

F.    Toshiba Parent        Guarantees       Indemnification,    Payment,      And
      Performance.

      60.     Toshiba’s obligations are backed by a guaranty provided by Toshiba

Parent. In 2011, Toshiba Parent provided Consumers Energy and DTE with a

guaranty of indemnification, payment, and performance (“Parent Guaranty”). (A

true and correct copy of the Parent Guaranty is attached as Exhibit C.) Toshiba

Parent acknowledged “that its entry into this [Parent] Guaranty is a material

inducement for the Owner to execute the Contract.”

      61.     In 2015, in connection with the assignment of the Contract from

Toshiba International Corporation to Toshiba, Toshiba Parent expressly confirmed

and agreed that the Parent Guaranty remained “fully in force and effect.” (See

Exhibit B.)

      62.     Toshiba Parent guaranteed to Consumers Energy and DTE that, if

Toshiba failed, in any respect, to perform or observe the Contract’s terms, Toshiba

Parent would immediately, upon Consumers Energy’s and DTE’s first demand in




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writing, perform or take necessary steps to achieve performance or observance in

full of such terms and provisions. (Parent Guaranty § 2.)

      63.     Under Section 2 of the Parent Guaranty, Toshiba Parent must indemnify

Consumers Energy and DTE against all losses, damages, claims, costs, charges, and

expenses arising from Toshiba’s failure to perform or observe the Contract’s terms,

including Consumers Energy’s and DTE’s reasonable costs, expenses, and attorney

fees incurred in enforcing its rights under the Contract and/or the Parent Guaranty.

      64.     Under Section 4, Toshiba Parent must make any payment due, without

set-off or counterclaim, upon first written demand.

G.    Toshiba Fails To Deliver Timely Work.

      65.     Toshiba’s work has been plagued by delay. Under the Contract,

Toshiba was originally to complete all work and achieve “Final Completion” of the

overhaul project by June 1, 2020. (Contract § I.2.) This date was later extended to

December 31, 2020 in 2017 as part of a negotiation. (Contract § I.2, as amended by

CCO9(2).) But as of the date of this Complaint, Toshiba still has not achieved Final

Completion.

      66.     Toshiba experienced lengthy delays from the very start of the project.

For example, Toshiba began the engineering for the first Unit to be upgraded, Unit

2, substantially behind schedule. Then, even after commencing the overhaul and



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upgrade of Unit 2, Toshiba’s work was further delayed. As a result, the duration of

Unit 2’s outage exceeded the outage duration provided for in the Contract by at least

32 weeks.

      67.    Unit 2 achieved Unit Interim Acceptance more than 9 months after the

Contract’s Unit Interim Acceptance deadline for that Unit.

      68.    Similarly, the second Unit to be overhauled and upgraded—Unit 4—

achieved Unit Interim Acceptance nearly a full year after the deadline established

by the Contract.

      69.    In February 2017, after extensive negotiations, Consumers Energy,

DTE, and Toshiba executed Contract Change Order 9, which reset certain deadlines

in light of prior delays, and adjusted project pricing. (CCO9(2), (8), (10).)

      70.    In Contract Change Order 9, Consumers Energy and DTE enforced the

contractual requirement that Toshiba achieve certain project milestones by deadlines

established in accordance with the Contract. Specifically, Change Order 9 provided

that Toshiba would pay certain liquidated damages in connection with the delay in

achieving Unit Interim Acceptance of Units 2 and 4. (CCO9(1).)

      71.    Significantly, in Contract Change Order 9, Consumers Energy, DTE,

and Toshiba reaffirmed that Toshiba alone would be responsible for any further




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delays associated with noncompliance with Contract requirements. Paragraph 2.B of

Section IV of the Contract was amended to provide that:

        For the avoidance of any doubt, it is expressly understood that any
        delays in achieving Unit Interim Acceptance for any Unit that are
        caused by the Owner’s insistence on [Toshiba] properly performing all
        parts of the [w]ork in accordance with the requirements of this Contract
        or by the Owner’s assertion or exercise of any other rights of the Owner
        under this Contract, shall in no event be cause for [Toshiba] to claim
        entitlement to any delay of the Unit Interim Acceptance Target Date or
        any extension to the Unit Interim Completion Milestone Date
        Deadband or any additional compensation from the Owner.

(CCO9(10a), Attached Section IV – Contract Price (Revision 1) § 2.B.) That same

provision also reaffirmed that Consumers Energy and DTE could withhold

liquidated damages that might accrue as a result of delays against future invoices.

(Id.)

        72.   Despite the deadline adjustments provided in Contract Change Order 9,

Toshiba’s delays continued. The third Unit to be overhauled and upgraded—Unit

5—achieved Unit Interim Acceptance by more than eight weeks after the revised

deadline established by Contract Change Order 9, and nearly a year after the original

deadline. In January 2018, Consumers Energy and DTE again enforced the

contractual requirement that Toshiba meet certain project milestones by executing

with Toshiba Contract Change Order 10, which provided that Toshiba would pay




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certain liquidated damages associated with the delay in Unit Interim Acceptance of

Unit 5. (CCO10(1).)

      73.    Toshiba nonetheless continued to experience delays in completing the

final three Units.

      74.    Units 1 and 6 also achieved Unit Interim Acceptance late, after the

revised deadlines for those milestones set by Contract Change Orders 9 and 10.

(Contract § III as amended by CCO9(8) and CCO10(2).) As a result, Toshiba owes

Consumers Energy and DTE substantial liquidated damages. (Contract § IV.2.B as

amended by CCO9(10a).)

      75.    In addition, as of the date of this Complaint, Toshiba has not yet

addressed a number of outstanding Punch List Items for Units 1 and 6. As a result

those Units have yet to achieve Unit Final Acceptance.

      76.    Most recently, Toshiba’s defective work and project mismanagement

has significantly delayed work on Unit 3. Under the Contract, as amended by

Contract Change Orders 9 and 10, Toshiba was required to achieve Unit Interim

Acceptance for Unit 3 on or before April 9, 2020. (Contract § III as amended by

CCO9(8) and CCO10(2).) However, due to its own defective work and

mismanagement, Toshiba did not achieve Unit Interim Acceptance for Unit 3 until

April 2, 2022—nearly two years after the deadline. As a result, Toshiba owes



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millions of dollars of liquidated damages for the late completion of Unit 3. (Contract

§ IV.2.B as amended by CCO9(10a).)

      77.    In addition to successful completion of acceptance testing, there are a

number of Punch List items that must be addressed for Unit 3 before that Unit can

achieve Unit Final Acceptance under the Contract. The Owner provided Toshiba

with a list of Punch List items for Unit 3 on April 2, 2022, but Toshiba responded

with a letter on April 4, 2022 refusing to recognize the vast majority of those items

as “actual” Punch List items that Toshiba must correct or provide pursuant to the

Contract.

      78.    Consumers Energy and DTE have withheld certain payments on

Toshiba’s invoices in light of: (i) the incomplete work on Units 1, 6 and 3, (ii) the

liquidated damages owed for delay in achieving Unit Interim Acceptance of Units

1, 6 and 3, and (iii) the costs associated with outstanding warranty items and

Toshiba’s defective work.

      79.    This withholding is authorized by, among other things, Section I.5(f)(i)

of the Contract, which permits withholding payment to protect the Owner against

losses associated with “[d]efective [w]ork not remedied” and Section IV.2.B. of the

Contract, as amended by Contract Change Order 9, which specifically authorizes




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withholding liquidated damages associated with delays in achieving Unit Interim

Acceptance.

      80.     As of the date of this Complaint, the amount withheld by Consumers

Energy and DTE is materially less than the expected amounts owed due to Toshiba’s

incomplete, defective, and tardy work.

H.    Toshiba Performs Defective Work.

      81.     Toshiba has performed defective work and services under the Contract,

including defectively designing, fabricating, and installing components in the

Ludington Plant. Toshiba has repeatedly refused to remedy or provide solutions to

remedy its defective work, despite multiple demands by Consumers Energy and

DTE. Toshiba’s defective work has affected the following key aspects of the

Ludington Plant, among others: (a) the discharge ring extensions (“DREs”); (b) the

main shaft seals; and (c) the motor-operated disconnect (“MOD”) switches. Each is

detailed below.

      1.      Toshiba Has Performed Defective Work With Respect To The
              DREs.

      82.     As part of the overhaul, Toshiba designed and installed a large stainless

steel ring called a Discharge Ring Extension or “DRE” in each of the Units. The

DRE was designed, fabricated, and installed by Toshiba as part of the overhaul. The

DRE is necessary to extend the original discharge ring in each Unit to accommodate


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the new, taller runner (also designed, fabricated, and installed by Toshiba) as part of

the overhaul.

      83.    The DRE acts as a pressure boundary, containing the water in the Unit

as the water flows through the runner and into Lake Michigan via a draft tube when

the Unit is in generating mode, or vice-versa in pumping mode.

      84.    A graphical cross-section showing the DRE and other related aspects

of one of the Ludington Plant turbines is set out here as Figure 3:




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      85.    During the installation and disassembly of the runner, the runner rests

on top of the horizontal section of the DRE—referred to as the “parking ledge”—

before it is hoisted up and fitted to the main shaft.

      86.    Once the runner is installed, much of the DRE is hidden behind the

runner, making the component difficult to access, inspect, and repair.

      87.    In order to inspect the DRE once the runner is installed, Consumers

Energy and DTE must suspend a platform on the walls of the draft tube during a

non-routine Unit outage. The process of installing and removing each platform

requires dewatering of the Unit, takes approximately a week, and is costly. Even

then, inspection of the entire DRE requires instrumentation, and much of the DRE

cannot be subjected to non-destructive examination. Neither non-destructive

examination nor repairs can be performed without disassembling the Unit.

      88.    In the fall of 2019, Consumers Energy and DTE discovered significant

defects in the DREs installed in Units that had then been completed to date—

specifically, Units 2, 4, and 5.

      89.    Specifically, in September 2019, while conducting inspections of Units

2 and 4 during scheduled maintenance outages (including inspection of corrective

work performed to address prior Toshiba errors), Consumers Energy and DTE

discovered cavitation erosion—i.e., loss and deterioration of metal caused by



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bubbles in the water. Consumers Energy and DTE immediately filed a

Nonconformance Report notifying Toshiba of the cavitation erosion in both units.

      90.    After subsequent inspections in October 2020 and May 2021 revealed

that the cavitation erosion had worsened, Consumers Energy and DTE informed

Toshiba that this problem would materially reduce service life and result in a failure

to achieve the contractually specified service duration of the Units.

      91.    Separately, while conducting warranty-related inspections in October

2019, Consumers Energy and DTE also discovered cracking at the parking ledge of

the DREs of Units 2 and 5. Consumers Energy and DTE immediately filed

Nonconformance Reports concerning the defective DREs in Units 2 and 5.

      92.    The cracking in the DREs violates engineering codes that apply to

Toshiba’s work under the Contract, including the ASME code and others.

      93.    Also in October 2019, Consumers Energy and DTE discovered

cracking in Unit 3’s DRE—a Unit for which the overhaul was still ongoing—before

Toshiba had even completed installation and prior to Unit assembly or placing the

Unit into operation. Consumers Energy and DTE immediately filed a

Nonconformance Report regarding the cracking in the Unit 3 DRE.

      94.    For approximately five months, from November 2019 through March

2020, Toshiba attempted to fix the cracking in Unit 3’s DRE, but Toshiba’s attempts



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only caused more cracking and damage to the DRE. Due to the amount of distortion

in the DRE and the inadequacy of the repairs after Toshiba’s trial-and-error efforts

to fix it, Consumers Energy and DTE rejected the DRE in March 2020.

      95.    To attempt to remedy the cracking on Unit 3 and the other units,

Toshiba redesigned and built a new DRE for Unit 3 with a different structure,

material, and installation method than its prior DRE design. Toshiba, however, has

not applied that new design to any of the five other units.

      96.    With Units 2 and 5, Toshiba has attempted temporary repairs on some

of the DRE cracks, but has refused to address all the cracks, and has refused to

replace the DREs with the new design Toshiba prepared and implemented for Unit 3.

Toshiba’s Unit 2 and 5 repair attempts, which have involved partial excavation and

welding over existing cracks, do not meet the engineering codes adopted under the

Contract, such as the ASME code and others. Consumers Energy and DTE permitted

Toshiba to perform those repairs as a temporary measure, but made clear that

Toshiba must also provide a permanent repair. To date, Toshiba has not offered or

performed any permanent repair.

      97.    In the meantime, Consumers Energy and DTE discovered DRE

cracking on all remaining units. Units 1, 2, 4, 5, and 6 all suffer from DRE cracking.




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        98.   In the fall of 2020, Consumers Energy and DTE were able to conduct

an inspection of Unit 6’s DRE for the first time and identified cracks and other

defects at the parking ledge of the DRE.

        99.   In 2021, Consumers Energy and DTE were able to conduct an

inspection of Unit 1’s DRE for the first time and identified cracks and other defects

at the parking ledge of the DRE and also above the parking ledge (in an area behind

the runner that is inaccessible for repair without Unit disassembly).

        100. In both instances, Consumers Energy and DTE filed Nonconformance

Reports regarding the cracking soon after seeing it for the first time.

        101. The main causes of the cracking in the DREs are Toshiba’s defective

services under the Contract, including Toshiba’s design, material selection,

manufacture, and installation.

        102. Because of the cracking and degradation caused by Toshiba’s defective

work, the DREs in Units 1, 2, 4, 5, and 6 now require annual inspection and repair

outages of more than 10 days. This need for increased monitoring and repair violates

the Contract’s warranties and requirements with respect to maintenance and service

life.




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      103. The DREs in Units 1, 2, 4, 5, and 6 must be replaced because the DRE

cracking and defects, and DRE-related cavitation erosion, continue to worsen and

cannot be permanently fixed without replacement.

      104. Continued cracking and other defects in and around the DREs will

ultimately lead to unrepairable leaks and will undermine the structural integrity of

the DREs and adjacent structures. Distortion of the DREs will interfere with

operation of the runner, and the Units will become inoperable. The only solution is

to replace the DREs before they fail.

      105. If not properly addressed, the DRE cracking and cavitation erosion

problems will shorten each Unit’s life significantly. The DREs in certain Units have

a remaining service life of less than 10 years. Because replacement of the DREs

requires full disassembly of the affected Units, this means five of six Units—at a

minimum—will fall far short of the 30-year service life required by the Contract.

      106. Cracking may have already caused water to breach the pressure

boundary and leak in Unit 4. This water leakage reduces the Unit’s stability by

eroding and creating pockets in the concrete and grout behind the DRE and other

piping for each Unit. Cracking associated with the Unit 1 DRE has also already

caused damage to the runner itself.




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      107. Replacing the DREs will be a lengthy and expensive process. To work

on the DREs, each Unit must be disassembled. This involves removing more than

1,000 tons of components, including the upper shaft, rotor spider, main shaft, and

runner, to gain access to the entirety of the DRE.

      108. Such disassembly will necessitate an estimated year-long outage,

during which time the affected Unit will be out of commission.

      109. Completing DRE replacement on five Units will take several years and

require repeated, lengthy outages as it is not possible to disassemble and repair more

than one Unit at a time.

      110. Due to the extensive planning process involved with a major overhaul,

Consumers Energy and DTE need significant lead time to prepare. If a Unit is

estimated to last only 10 more years, then Consumers Energy and DTE must start

planning now for a major outage affecting that Unit, including by finding

replacement sources of energy to serve millions of Michigan residents and

businesses during that outage.

      111. Consumers Energy and DTE currently estimate that, for each Unit,

replacing the DRE will require a lengthy, major year-long outage and will cost at

least tens of million dollars, if not more, per Unit.




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      2.     Toshiba Has Performed Defective Work With Respect To The Shaft
             Seal System.

      112. The main shaft seal system, like the DRE, is part of each Unit’s pressure

boundary. The shaft seal system prevents an excessive amount of water flowing

through the turbine and draft tube from escaping into dry areas of the Plant’s interior

through an opening where the Unit’s main shaft runs from the runner to the motor

generator. The shaft seal is depicted in Figure 3, above, in connection with paragraph

84.

      113. The main shaft seal system is critical to the Ludington Plant because it

keeps the water that rotates the runner out of the rest of the Unit and prevents

excessive water from flooding the headcover, entering the turbine guide bearing tub

(thereby contaminating the oil lubricating the turbine guide bearing), and ultimately

making operation of the Unit impossible.

      114. As part of the overhaul, Toshiba replaced the prior, reliable main shaft

seal system with defectively designed seals that do not fulfill their purpose of

keeping water controlled in a reliable manner.

      115. Excessive water and air leakage from Toshiba’s defective seals have

forced various Units to undergo several unplanned outages for repairs and/or

changing of the turbine guide bearing oil due to water contamination.




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      116. Each time Consumers Energy and DTE discovered water and air

leakage from the defective shaft seal system, Consumers Energy and DTE timely

provided Nonconformance Reports to Toshiba. In response, Toshiba made multiple

attempts to repair or retrofit the shaft seal system. Despite these numerous trial-and-

error repair attempts, Toshiba has been unable to resolve the problem in a manner

that meets the service life requirements of the Contract.

      117. In 2019, after multiple failures of the shaft seals in multiple units, and

after multiple unsuccessful attempts at repairs by Toshiba, Consumers Energy and

DTE requested that Toshiba replace the defective design of the main shaft seal with

an alternate and proven seal design that is effective, requires low maintenance, needs

no active measures to operate, has an effective water deflection system, and will

allow the Units to operate for the required minimum service life of 30 years.

      118. In response, Toshiba refused to replace the main shaft seal system

design as requested, but instead made further trial-and-error repair efforts. Toshiba’s

latest round of adjustments failed to fix the unreliable main shaft seal systems.

      119. Toshiba has repeatedly urged Consumers Energy and DTE to accept

stopgap measures, such as installation of “slinger rings,” which are not a repair to

the shaft seal systems but are instead a separate component designed to deflect water




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away from the shaft seal systems. These stopgap measures do not remedy the failed

shaft seal systems and are not sufficient to ensure a sufficient pressure boundary.

         120. In January 2020, despite Toshiba’s attempted repairs, Consumers

Energy and DTE discovered excessive water leakage in the shaft seal system for

Unit 2.

         121. Later that year, in July 2020, the main shaft seal in Unit 5 was found to

have excessive water leakage.

         122. A few months later, in December 2020, there was excessive water

leakage from the Unit 6 shaft seal system.

         123. The following year, in February 2021, there was excessive water

leakage from Unit 6’s shaft seal system.

         124. During a 2021 outage, Toshiba made even more retrofits to the main

shaft seal system at its subcontractor’s recommendation.

         125. However, components of the retrofitted main shaft seal system continue

to fail. For example, in October 2021, Consumers Energy and DTE discovered that

the shaft seal cooling water has been leaking from the shaft seal systems in Units 5

and 6.

         126. In addition, Toshiba’s retrofitted shaft seals have been causing pressure

fluctuations in the shaft seal system, resulting in more temporary measures and more



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trial-and-error modification recommendations from Toshiba and its subcontractor—

confirming the need to replace Toshiba’s defective design rather than continuing to

adjust the current design that continues to fail.

      127. Despite numerous requests by Consumers Energy and DTE that

Toshiba address shaft seal system issues by installing a new shaft seal system in each

Unit, Toshiba has refused.

      3.     Toshiba Has Performed Defective Work With Respect To The MOD
             Switches.

      128. Each Unit has a MOD switch that controls that Unit’s connection to the

starting bus, an electrical component that is vital to the process of switching each

Unit from generating to pumping modes—a necessary function for a pumped storage

generating Unit.

      129. More specifically, MOD switches 105, 215, 315, 415, and 515 ensure

proper starting bus configuration such that each Unit can individually be placed into

pumping mode.

      130. However, the MOD switches selected and installed by Toshiba for

switches 215, 315, 415, and 515 are unreliable, show degradation, and are not

repairable without significant modifications. The MOD switches selected by

Toshiba have failed repeatedly, as detailed below. The original equipment




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manufacturer of the MOD switches is no longer in business according to Toshiba,

and replacement parts for the Toshiba-installed design are therefore unavailable.

      131. As a result, to remedy the defect, MOD switches 215, 315, 415, and

515 must be replaced. But, despite the many MOD switch failures outlined below

and in Nonconformance Reports, Toshiba has refused to replace the defective and

obsolete switches, except for one.

      132. In December 2017, MOD switch 105 failed during operation and, after

Consumers Energy and DTE filed a Nonconformance Report, Toshiba replaced the

switch.

      133. The replacement of the MOD switch 105 did not fully correct the

problems with the switch, however. In May 2020, Consumers Energy and DTE

learned of multiple operational issues with the replaced MOD switch 105. To

address those problems, Toshiba replaced the MOD switch 105 with a more robust

design from a reputable telescopic disconnect switch supplier during the 2021 spring

outage.

      134. Toshiba, however, has refused to replace the other MOD switches that

share the same defective design as the original 105 switch, despite multiple problems

and failures of those other switches.




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      135. For example, in March 2020, the 215 switch failed to retract once

pumping operations started due to a blown primary control fuse.

      136. In November 2020, Consumers Energy and DTE received an alarm

while the 515 switch was cycled open or closed and, during troubleshooting,

discovered the 515 switch drive motor circuit had signs of heat damage. No cause of

failure was determined by Toshiba and the damaged component was replaced.

      137. In February 2021, the 215 switch failed in service because its primary

control fuse had (again) blown. Subsequently, in March 2021, the 215 switch blew

a negative fuse. No countermeasures have been provided by Toshiba.

      138. Inspections conducted in October 2020 and April 2021 identified other

issues with the MOD switches, including abnormal wear on some parts and loose

parts. Yet, Toshiba still did not make any progress in diagnosing the issue or offering

any viable corrective actions or additional troubleshooting options.

      139. Additionally, contractual deficiencies in the installed equipment were

identified while attempting to determine the cause of the repeated MOD switch

failures. These contractual nonconformances included, but were not limited to, the

failures of MOD switches 215, 315, 415, and 515 to satisfy the technical

specifications requirements of the Contract, such as the IEEE code. These




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deficiencies were outlined by Consumers Energy and DTE in Nonconformance

Reports in July 2021 and have not been responded to by Toshiba to date.

      140. Consumers Energy and DTE have repeatedly demanded that Toshiba

address the MOD switch defects with a comprehensive plan of corrective action

and/or by replacing the switches with the same equipment used to address the defects

in MOD switch 105. Consumers Energy and DTE have also requested that Toshiba

replace MOD switches 215, 315, 415, and 515 with the design used for the

replacement of MOD switch 105 pursuant to specification provisions that require

replacement if a component is determined to be obsolete or upgraded in a later Unit.

(See TR, §3.10.6.1; TS EE-05110.1, §3.2.5.)

      141. Despite numerous requests, Toshiba has refused to replace switches

215, 315, 415, and 515 and has failed to provide any other comprehensive plan to

correct the defective equipment and meet the requirements of the Specifications.

I.    Toshiba Has Failed To Remedy An Extensive Backlog Of Other
      Warranty Issues.

      142. In addition to the issues above, Toshiba has refused to or failed to

remedy many other warranty issues. Consumers Energy and DTE have submitted

more than 120 Nonconformance Reports that Toshiba has not addressed or fully

resolved (“Outstanding Nonconformance Reports”).




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      143. Approximately one third of the Outstanding Nonconformance Reports

have been unresolved for more than a year.

      144. In numerous instances, Toshiba has simply ignored or failed to respond

to Outstanding Nonconformance Reports or related correspondence.

      145. In     other    instances,    Toshiba    has   delayed     responding    to

Nonconformance Reports or related correspondence for a long period of time.

      146. The Outstanding Nonconformance Reports cover substantial defective

work by Toshiba in all six Units that does not meet the requirements of the Contract,

including the Specifications.

      147. For example, Toshiba provided generator circuit breaker pumping

poles with a reduced service life. Consumers Energy and DTE will need to have 14

additional outages per Unit over the contractually required number to replace the

poles during the 30-year service life.

      148. As another example, Toshiba supplied new high pressure oil systems

for all Units that are intended to supply a critical flow of high pressure oil to the

thrust bearing, allowing the Unit to start and stop without damaging the bearing.

High pressure oil pumps installed as part of this system have failed in multiple Units.

Further, the high pressure oil systems fail to meet industry standards for controls and

alarming functions, among other things. Consumers Energy and DTE have provided



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multiple Nonconformance Reports to Toshiba regarding failure of the high pressure

oil systems, but Toshiba has not responded to these Nonconformance Reports or

otherwise provided a remedy for the defects.

      149. As another example, Toshiba improperly designed and installed wicket

gate thrust liners in all of the Ludington Plant Units. The wicket gate thrust liners

are bushings that hold in place each of the twenty wicket gates in each Unit that

control the flow of water through each turbine. Each individual wicket gate weighs

approximately 20,000 pounds. Proper alignment and operation of the wicket gates

are critical to Plant operation. Some wicket gate thrust liners have prematurely

failed. In all Units, the wicket gate thrust liners show signs of significant wear. The

failures have been caused by or resulted in sheared retaining bolts and/or broken-off

material leaving voids in the supporting surface. Additionally, Toshiba’s work is

deficient as it fails to meet even its own design drawing in the installed condition.

J.    Consumers Energy And DTE Attempt In Good Faith To Resolve
      Defective Work, But Toshiba Refuses.

      150. Through many Nonconformance Reports, emails, letters, and meetings,

Consumers Energy and DTE have repeatedly notified Toshiba that its defective work

violates the Contract, including the Specifications and Toshiba’s warranty.




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Consumers Energy and DTE have also repeatedly requested that Toshiba address

outstanding Punch List items for Units 1, 6, and 3.

         151. At the same time, Consumers Energy and DTE have attempted to work

with Toshiba to find permanent solutions to Toshiba’s defective and nonconforming

work. But, despite Consumers Energy’s and DTE’s efforts, and Toshiba’s

contractual obligations, Toshiba has refused to resolve the outstanding warranty

items.

         152. For example, after the Owner requested in a Nonconformance Report

that Toshiba repair all the defects in Unit 1’s DRE, Toshiba indicated that the Owner

should “Use-As-Is” the defective DRE. In another instance, after the Owner

requested in a Nonconformance Report that Toshiba repair all defects in Unit 4’s

DRE, Toshiba indicated that the Owner should “Leave-As-Is” certain defects in the

DRE.

         153. After months of unsuccessfully requesting that Toshiba fulfill its

contractual obligations, on July 30, 2021, Consumers Energy and DTE provided

Toshiba with a notice of a dispute under GC9 of the Contract. The notice asked

Toshiba to provide, within 60 days of the notice, a detailed, comprehensive,

measurable, and credible written plan outlining permanent solutions for Toshiba’s

defective work.



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       154. On September 22, 2021, Consumers Energy and DTE had an executive

level meeting with Toshiba, as required under GC9 of the Contract. Representatives

sent by Toshiba Parent also attended the meeting.

       155. Toshiba, however, never provided a comprehensive plan. Instead,

Toshiba has primarily argued that Consumers Energy and DTE should use defective

components “as is” and take a wait-and-see approach as to whether the components

or the Units will fail.

       156. On October 6, 2021, Consumers Energy and DTE advised Toshiba that

the 60-day period under GC9 had expired without resolution of the dispute and

reiterated that Toshiba’s defective performance and delays with respect to Unit 3

and the outstanding warranty items violated the Contract.

       157. On December 10, 2021, Consumers Energy and DTE invoked the

Parent Guaranty by serving a demand on Toshiba Parent. Consumers Energy and

DTE advised Toshiba Parent that Toshiba had failed to perform or observe the terms

and provisions of the Contract, including by delaying the overhaul of Unit 3, failing

to properly address warranty items, and failing to comply with the Contract

requirements regarding uniformity, obsolescence, updating, and service life.

       158. Consumers Energy and DTE requested that Toshiba Parent perform or

take such steps as are necessary to achieve performance or observance in full of the



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terms and conditions of the Contract. Consumers Energy and DTE also requested

that Toshiba Parent indemnify Consumers Energy and DTE.

      159. Toshiba Parent refused to perform or take such steps as are necessary

to achieve observance in full of the Contract’s terms and conditions, or to indemnify

Consumers Energy and DTE.

      160. In light of Toshiba’s consistent failure to either address outstanding

warranty or Punch List items or provide a long-promised proposal for doing so, on

April 6, 2022, Consumers Energy and DTE sent a letter to Toshiba and Toshiba

Parent demanding that Toshiba and Toshiba Parent address all outstanding warranty

and Punch List items, including replacing the DREs in Units 1, 2, 4, 5, and 6,

replacing the main shaft seal systems in all units, and replacing MOD switches 215,

315, 415, and 515.

      161. The letter notified Toshiba and Toshiba Parent that if they failed to

commit to addressing all outstanding warranty and Punch List items within ten

business days, or by April 20, 2022, then Consumers Energy and DTE would have

no choice but to exercise their rights under the Contract, including to undertake that

work at Toshiba’s expense. (Contract §§ II.GC22(b)(i), GC22(b)(ii), GC10;

Specifications Part One § 4.6.)




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      162. The same day, Toshiba sent a letter to Consumers Energy asking to

inspect the DREs of three Units and again proposing to install stopgap slinger rings

on four Units. Toshiba did not provide the long requested comprehensive plan and

instead asked for even more time to prepare such a plan.

      163. Consumers Energy and DTE responded that, while they welcomed

inspection of the DREs, installing slinger rings was unacceptable including because

slinger rings do not resolve the problems caused by Toshiba’s defective work on the

main shaft seals.

      164. On April 15, 2022, Toshiba wrote to Consumers Energy and DTE,

suggesting that Toshiba would not propose a plan to rectify Toshiba’s defective work

with respect to the DREs by April 20, 2022, as Consumers Energy and DTE

demanded. Instead, Toshiba proposed to collect additional data. As detailed above,

Consumers Energy and DTE have been asking Toshiba to commit to a plan to rectify

its deficient work for many months, and there is already substantial data establishing

the defectiveness of Toshiba’s work.

      165. As of the date of this Complaint, Toshiba and Toshiba Parent have

refused to commit to a comprehensive plan to rectify Toshiba’s defective work.




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K.    Toshiba’s Defective, Nonconforming, And Delayed Work Significantly
      Injures Consumers Energy And DTE.

      166. Consumers Energy and DTE have suffered and will continue to suffer

significant injury as a result of Toshiba’s defective and nonconforming work, refusal

to correct its defective and nonconforming work, delays with completing the

overhauls and upgrades of the Units, and failure to complete outstanding Punch List

items on Units 1, 6 and 3.

      167. Consumers Energy and DTE have incurred substantial monetary

damage as a result of Toshiba’s failures, including millions of dollars of costs and

expenses associated with extension of the project, attempting to address the many

defective aspects of Toshiba’s work, out-of-pocket costs required as a result of

Toshiba’s late and defective work, and the failure of Toshiba to provide the overhaul

and upgrade that Toshiba promised to deliver in the Contract. Consumers Energy’s

and DTE’s damages continue to accrue so long as Toshiba’s defective and

incomplete work is not corrected.

      168. Consumers Energy and DTE have spent and incurred millions of dollars

in out-of-pocket damages because of Toshiba’s defective, nonconforming, and

delayed work.

      169. Toshiba’s failure to complete the overhaul and upgrade work in

accordance with the Contract, including the requirement of a 30-year service life,


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has frustrated the purpose of the Contract and prevented Consumers Energy and

DTE from getting what they paid for in the Contract.

      170. Consumers Energy and DTE will incur significant costs and expenses

in finding, vetting, hiring, and onboarding another company to complete and to fix

Toshiba’s defective work.

      171. Consumers Energy and DTE will incur significant costs and expenses

in planning and implementing the major repairs necessary to address Toshiba’s

defective work.

      172. As described in paragraphs 78 to 79 above, on identification of the

significant defects in Toshiba’s work and the delayed response from Toshiba

regarding solutions to the issues, Consumers Energy and DTE have rightfully

retained funds from Toshiba in accordance with the Contract. The retained funds,

however, fall far short of the significant costs and expenses that will be required to

resolve all of Toshiba’s defective work.

      173. Consumers Energy and DTE have incurred and will incur costs,

expenses, and attorneys’ fees in enforcing their rights under the Contract and Parent

Guaranty, including in filing this action.




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                                      CLAIMS

                            Count I: Breach of Contract
                          (Breach of Warranty Provisions)
                                  Against Toshiba

         174. Consumers Energy and DTE repeat and reallege the allegations of

Paragraphs 1 through 173 as though fully set forth here.

         175. Consumers Energy, DTE, and Toshiba executed a valid contract

containing warranties by Toshiba upon which Consumers Energy and DTE relied

when purchasing Toshiba’s services for the overhaul and upgrade of the Ludington

Plant.

         176. In Section I.1 of the Contract, Toshiba agreed “to perform and

complete, in a good, substantial, workmanlike and approved manner within the time

hereinafter specified and in accordance with terms, conditions and provisions of this

Contract, all of the [w]ork described in SECTION III – DESCRIPTION OF WORK,

which is attached to and made a part of this Contract, and otherwise in the Contract

Documents (as hereinafter defined).”

         177. In Section II GC21(b)(ii) of the Contract, as amended by Change Order

9, Toshiba warranted that all its work—including the work of its subcontractors and

suppliers—would conform to the Contract, including the Specifications, and be free

from defects for a period commencing at the Unit Interim Acceptance and until the



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longer of 6 years after the date of successful completion of the Extended Commercial

Operation Test or 3 years after the date of Unit Final Acceptance.

      178. Toshiba breached its warranties to Consumers Energy and DTE by

providing defective and nonconforming work, including but not limited

to: defective work in connection with the DREs, including cracking and degradation

in the DREs for Units 1, 2, 4, 5, and 6; defective work in connection with the main

shaft seal systems; defective work in connection with the MOD switches 215, 315,

415, and 515; and defective work in connection with all other defects outlined in the

Outstanding Nonconformance Reports and Punch Lists.

      179. Toshiba’s defective work violates multiple specifications and

requirements of the Contract, including the requirements that Toshiba’s work would:

             (a)   return the Ludington Plant to an as-new condition (Specifications
                   Part Two TR, §§ 1.0, 1.7.1, 3.0);
             (b)   enable each Unit to operate reliably and efficiently for a service
                   life of at least 30 years with only minimal routine maintenance
                   during planned periodic outages (Specifications Part Two TR,
                   §§ 1.0, 1.7.1, 3.0);
             (c)   enable each Unit to operate for three years between each
                   involved planned preventative maintenance periodic outage
                   (Specifications Part Two TR, §§ 1.7.1, 3.4.2.2, 1.7.2);

             (d)   improve the Ludington Plant’s generating and pumping
                   capabilities, efficiency, maintainability, availability, reliability,
                   and its overall operation, among other things (Specifications Part
                   Two TR, §§ 1.2, 1.3, 3.0; Specifications Part Two Technical
                   Specification EE-30200.1, § 3.1.1);

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            (e)    comply with the requirements of applicable engineering codes
                   and standards (See, e.g., Specifications Part Two TR, §§ 2.2, 4.6;
                   Specifications Part Two TS ME-11450.4, § 2.0); and

            (f)    result in uniformity such that, if Toshiba modifies, declares
                   obsolete, or in any way improves any component in one Unit, all
                   such components will be similarly updated in all Units so that
                   they are identical at the conclusion of the overhaul and upgrade.
                   (Specifications Part Two TR, § 3.10.6.1.)

      180. Toshiba breached those provisions by failing, among other things, to

overhaul and upgrade the Ludington Plant so that it would be in an as-new condition,

have a 30-year service life, require an involved planned preventative maintenance

outage just once every three years, be more reliable, and require less maintenance.

      181. Toshiba further breached the Contract, including its Specifications, by

failing to uniformly update components—such as the DREs and the MOD

switches—in all Units when a component in one Unit was modified, declared

obsolete, or improved.

      182. Each time Consumers Energy and DTE learned of Toshiba’s defective

work, Consumers Energy and DTE promptly notified Toshiba, including without

limitation through the Nonconformance Report process.

      183. As a direct and proximate result of Toshiba’s breach of its warranties,

Consumers Energy and DTE have suffered and will suffer significant damages,

including, but not limited to, the major expenses they incurred and will incur to



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address the defective work and the failure of Toshiba to provide the overhaul and

upgrade that Toshiba promised to deliver in the Contract.

      WHEREFORE, Consumers Energy and DTE request that judgment be

entered against Toshiba and that this Court order (1) Toshiba to pay Consumers

Energy and DTE all appropriate damages, including all costs and expenses required

to rectify Toshiba’s defective work and all out-of-pocket costs that Consumers

Energy and DTE have incurred and will incur, and (2) all other relief to which

Consumers Energy and DTE now are entitled or hereafter may be entitled.

                         Count II: Breach of Contract
                       (Breach of Duty to Repair Defects)
                                Against Toshiba

      184. Consumers Energy and DTE repeat and reallege the allegations of

Paragraphs 1 through 173 as though fully set forth here.

      185. Consumers Energy, DTE, and Toshiba executed a valid contract

pursuant to which Toshiba was to perform the overhaul and upgrade work.

      186. The terms of the Contract, including Section I.1, Section II.GC15(j),

and Section II.GC22(b)(i), require that, after Consumers Energy and DTE notify

Toshiba of any failure to comply with the warranties, Toshiba promptly and within

a reasonable time make any and all necessary repairs or replacements, including

replacing all defective work, at Toshiba’s sole expense.



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      187. Consumers Energy and DTE have demanded multiple times that

Toshiba remedy numerous warranty defects, including but not limited to the DRE

cracking and cavitation erosion, the repeated failures of the main shaft seal system,

and the degradation of the MOD switches. Toshiba has failed to rectify these

warranty defects and has refused to replace defective components.

      188. Toshiba has breached the Contract by failing to make the repairs or

replacements necessary to fix its defective work.

      189. As a result of Toshiba’s failure to remedy its defective work,

Consumers Energy and DTE have incurred and will incur damages, including but

not limited to the significant expenses they incurred and will incur to remedy

Toshiba’s defective work, as well as the failure of Toshiba to provide the overhaul

and upgrade that Toshiba promised to deliver in the Contract.

     WHEREFORE, Consumers Energy and DTE request that judgment be entered

against Toshiba and that this Court order (1) Toshiba to pay Consumers Energy and

DTE all appropriate damages, including all costs and expenses required to rectify

Toshiba’s defective work and all out-of-pocket costs that Consumers Energy and

DTE have incurred and will incur, and (2) all other relief to which Consumers

Energy and DTE now are entitled or hereafter may be entitled.




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                        Count III: Breach of Contract
                      (Failure to Timely Complete Work)
                                Against Toshiba

      190. Consumers Energy and DTE repeat and reallege the allegations of

Paragraphs 1 through 173 as though fully set forth here.

      191. Consumers Energy, DTE, and Toshiba executed a valid contract

pursuant to which Toshiba was to overhaul and upgrade the Ludington Plant.

      192. The terms of the Contract, including Sections I.1-2, III, and IV.2.B,

require that Toshiba perform and complete work in accordance with the schedule

and milestones set by or established in accordance with the Contract, including the

Unit Interim Acceptance and Unit Final Acceptance milestones, for each of the six

Ludington Plant Units.

      193. Toshiba breached those Contract terms by failing to timely perform the

necessary work to timely achieve Unit Interim Acceptance for Units 1, 3, and 6. As

a result of Toshiba’s failure to timely achieve Unit Interim Acceptance, Toshiba

owes Consumers Energy and DTE liquidated damages in accordance with the terms

of the Contract. (Contract, § IV.2.B as amended by CCO9(10a).)

      194. Toshiba also breached those Contract terms by failing to timely perform

the necessary work to achieve Unit Final Acceptance and thus complete its

responsibility to overhaul and upgrade Units 1, 3, and 6. Under the Contract,



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Consumers Energy and DTE have the right to perform or have a third party perform

the incomplete work at Toshiba’s expense. (See e.g., Contract, §§ II.GC10,

GC22(b)(ii), GC18(e); Specifications Part One, § 4.6.)

         195. As a direct and proximate result of Toshiba’s failure to timely complete

its work and achieve the Unit Final Acceptance as set by or established in accordance

with the Contract for Units 1, 3, and 6, Consumers Energy and DTE incurred and

will incur damages, including, but not limited to, the significant expense they

incurred and will incur to finish and replace or repair defective work on Units 1, 3,

and 6.

         WHEREFORE, Consumers Energy and DTE request that judgment be

entered against Toshiba and that this Court order (1) Toshiba to pay Consumers

Energy and DTE all appropriate damages and (2) all other relief to which Consumers

Energy and DTE now are entitled or hereafter may be entitled.

                       Count IV: Breach of Parent Guaranty
                              Against Toshiba Parent

         196. Consumers Energy and DTE repeat and reallege the allegations of

Paragraphs 1 through 195 as though fully set forth here.

         197. Consumers Energy, DTE, and Toshiba Parent executed a valid contract

pursuant to which Toshiba Parent made a guaranty of indemnification, payment, and

performance.


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      198. As acknowledged by Toshiba Parent, the Parent Guaranty was a

material inducement for Consumers Energy and DTE to enter into the Contract.

      199. The terms of the Parent Guaranty require that Toshiba Parent

immediately, upon Consumers Energy’s and DTE’s first demand in writing, perform

or take necessary steps to achieve performance in full of such terms and provisions.

(Parent Guaranty § 2.)

      200. The terms of the Parent Guaranty also require Toshiba Parent to

indemnify Consumers Energy and DTE against all losses, damages, claims, costs,

charges, and expenses arising from Toshiba’s failure to perform or observe the

Contract’s terms, including Consumers Energy’s and DTE’s reasonable costs,

expenses, and attorney fees incurred in enforcing its rights under the Contract and/or

the Parent Guaranty. (Parent Guaranty § 2.)

      201. The terms of the Parent Guaranty require that Toshiba Parent make any

payment due, without set-off or counterclaim, upon first written demand. (Parent

Guaranty § 4.)

      202. On December 10, 2021, Consumers Energy and DTE sent a written

demand for performance and indemnification to Toshiba Parent.




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      203. Toshiba Parent breached the terms of the Parent Guaranty by failing to

perform or take necessary steps to achieve performance in full of the Contract’s

terms and provisions, and by failing to indemnify Consumers Energy and DTE.

      204. As a result of Toshiba Parent’s failure to perform or take necessary

steps to achieve performance in full of the Contract’s terms and provisions, and

failure to indemnify Consumers Energy and DTE, Consumers Energy and DTE have

suffered and will suffer damages, including, but not limited to, the significant

expenses they have incurred and will incur to enforce the guaranty, to complete work

on Units 1, 3, and 6, to remediate Toshiba’s defective work, as well as the failure of

Toshiba to provide the overhaul and upgrade that Toshiba promised to deliver in the

Contract.

      WHEREFORE, Consumers Energy and DTE request that judgment be

entered against Toshiba Parent and that this Court order (1) Toshiba Parent to pay

Consumers Energy and DTE all appropriate damages, including any damages owed

by Toshiba; (2) Toshiba Parent to pay Consumers Energy’s and DTE’s costs and

expenses incurred in enforcing its rights under the Contract, including bringing this

suit; and (3) all other relief to which Consumers Energy and DTE now are entitled

or hereafter may be entitled.




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                              PRAYER FOR RELIEF

       WHEREFORE, Consumers Energy and DTE request that judgment be

entered against Toshiba and Toshiba Parent and that this Court order (1) Toshiba

and Toshiba Parent to pay Consumers Energy and DTE all appropriate damages,

including all costs and expenses required to rectify Toshiba’s defective work and all

out-of-pocket costs that Consumers Energy and DTE have incurred; (2) Toshiba

Parent to pay Consumers Energy’s and DTE’s costs and expenses incurred in

enforcing its rights under the Contract, including bringing this suit; and (3) all other

relief to which Consumers Energy and DTE now are entitled or hereafter may be

entitled.

                                         CONSUMERS ENERGY COMPANY
                                         and DTE ELECTRIC COMPANY


 Dated: April 20, 2022                   By: /s/ Derek J. Linkous
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